Case 8:12-cv-02421-EAK-TGW Document 55 Filed 01/17/14 Page 1 of 2 PageID 491



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

    Marlin Gas Transport, Inc.
    An Indiana corporation,

    and

    Neil Enerson,
    An individual

                              Plaintiffs,

            v.                                      Case No. 8:12-cv-02421-EAK-TGW

    LNG Energy Solutions, LLC
    A Delaware company,

                              Defendant.



                      STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs,

Marlin Gas Transport, Inc. and Neil Enerson, and Defendant, LNG Energy Solutions, LLC,

hereby notify the Court that all claims in this action are hereby dismissed with prejudice and

each party shall bear its own costs, expenses and attorneys’ fees.

    Dated: January 17, 2014

    /s/ Michael J. Colitz, III                               /s/ Justin P. Miller
    Michael J. Colitz, III                                   Justin P. Miller
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Case 8:12-cv-02421-EAK-TGW Document 55 Filed 01/17/14 Page 2 of 2 PageID 492



                             CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that on January 17, 2014 a true and correct copy of the foregoing was
served via cm/ecf to all counsel of record.
                                         /s/ Michael J. Colitz, III
                                         Michael J. Colitz, III

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